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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1552V
                                      (not to be published)


    MONICA PORTEE,
                                                             Chief Special Master Corcoran
                        Petitioner,
    v.                                                       Filed: November 8, 2019


    SECRETARY OF HEALTH AND                                  Special Processing Unit               (SPU);
    HUMAN SERVICES,                                          Attorney’s Fees and Costs


                        Respondent.


Shealene Priscilla Mancuso, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Glenn Alexander MacLeod, U.S. Department of Justice, Washington, DC, for
Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS1

       On November 21, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury caused in fact
by the influenza vaccination she received on October 8, 2015. (Petition at 1, ¶¶ 2, 11).
On September 4, 2019, a decision was issued by then-Chief Special Master Dorsey,
awarding compensation to Petitioner based on the Respondent’s proffer. (ECF No. 64).




1 Although I have not designated this Decision for publication, it will be made available on the United States
Court of Federal Claims’ website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note
(2012) (Federal Management and Promotion of Electronic Government Services). In accordance with
Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the
identified material fits within this definition, I will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated October 24,
2019, (ECF No. 68), requesting a total award of $24,033.85 (representing $23,019.20 in
fees and $1,014.65 in costs). In accordance with General Order #9, counsel for
Petitioner’s counsel represents Petitioner incurred no out-of-pocket expenses. (Id. at 2).
Respondent reacted to the motion on November 4, 2019 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to the Court’s discretion to determine the amount to be awarded. (ECF
No. 69). By electronic correspondence on November 5, 2019, counsel for Petitioner
notified the staff attorneys office that Petitioner did not intend to file a reply. See Informal
Remark, November 6, 2019.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorneys’ fees and costs. I
award a total of $24,033.85 (representing $23,019.20 in attorney’s fees and $1,014.65 in
costs) as a lump sum in the form of a check jointly payable to Petitioner and his/her
counsel, Shealene Priscilla Mancuso, Esq. In the absence of a timely-filed motion for
review (see Appendix B to the Rules of the Court), the Clerk shall enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
